218 F.2d 588
    Darnell TRICE, Petitioner,v.UNITED STATES of America, Respondent.
    Misc. No. 406.
    United States Court of Appeals, Ninth Circuit.
    Jan. 18, 1955.
    
      Darnell Trice, in pro per.
      No appearance for respondent.
      Before DENMAN, Chief Judge, and BONE and POPE, Circuit Judges.
      PER CURIAM.
    
    
      1
      Movant alleges that he was convicted in the United States District Court for the District of Hawaii for possession of narcotics.  He further states that he moved the sentencing court to vacate his sentence under 28 U.S.C. § 2255, which motion was denied on February 19, 1954, and no appeal was taken.  This does not entitle him to seek habeas corpus.
    
    
      2
      The motion is dismissed.
    
    